                             United States District Court
                           Western District of North Carolina
                                  Asheville Division

          Lisa M. Flannery,            )             JUDGMENT IN CASE
                                       )
              Plaintiff,               )               1:19-cv-00319-DSC
                                       )
                 vs.                   )
                                       )
          Andrew M. Saul,              )
                                       )
             Defendant.                )

 DECISION BY COURT. This action having come before the Court and a decision having been
rendered;

IT IS ORDERED AND ADJUDGED that Judgment is hereby entered in accordance with the
Court’s August 3, 2020 Order.

                                               August 3, 2020




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